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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



 MILES MORAN and GERARD TAYLOR,
 for themselves and all others similarly
 situated,
                                                        Case No. 19-cv-13553-EEF-MBN
                                                        Consolidated with 20-cv-1275
                Plaintiffs,
                                                        (This filing pertains only to Matthews v.
                                                        Herman, 20-cv-01275)
         v.
                                                        (Class Action)
 KEVA LANDRUM-JOHNSON, et al.,

                Defendants.


                   PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                        DEFENDANTS’ MOTION TO DISMISS

        Defendants in Matthews v. Herman, 20-cv-01275, have moved this Court to dismiss

Plaintiffs Larry Matthews’s and Ernest Cloud’s claims for lack of standing. (ECF No. 53.) This

motion presents arguments nearly identical to those in a motion to dismiss previously filed by

Defendants in Moran v. Landrum-Johnson, 19-cv-13553. (ECF No. 28.) In both motions,

Defendants argue that the respective Plaintiffs lacked standing because their injuries at the

moment of filing were “too speculative, conjectural, and hypothetical and cannot be fairly

traced” to Defendants. (ECF Nos. 28-1 at 4; 53-1 at 4.) The motions differ in their discussion of

the subsequent histories of Plaintiffs’ cases in the Orleans Criminal District Court. In Moran,

Defendants argued that the refusal of Mr. Moran’s charges and the eventual guilty plea of Mr.

Taylor rendered their claims moot and were proof that they were too speculative. (ECF No. 28-1

at 7–8.) Here, Defendants argue that Mr. Matthews and Mr. Cloud did not raise bond reduction

arguments at their arraignments. (ECF No. 53-1 at 3, 6.) None of these are reasons to dismiss the

case.
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       Plaintiffs Matthews and Cloud incorporate the arguments made in the Moran brief (ECF

No. 34 at 8–19) and at oral argument on May 27, 2020. Plaintiffs merely summarize those

arguments here: Threats of imminent future injury are sufficient to confer standing. See

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007); Steffel v. Thompson, 415 U.S.

452, 459 (1974); Seals v. McBee, 898 F.3d 587, 592 (5th Cir. 2018).

       The facts alleged here present a threat of harm more immediate than shown in other cases

where standing was affirmed. See, e.g., Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,

429 U.S. 252 (1971) (holding that plaintiff had standing for declaratory relief against municipal

zoning body where future injury was conditioned on (a) zoning change to allow construction of

low-income housing, (b) construction of such housing, and (c) plaintiff’s statement that he would

“probably” move to such housing since it would be closer to his job); Seals, 898 F.3d at 592

(holding that arrestees had standing to facially challenge criminal statute and enjoin its

enforcement even where the District Attorney had issued a nolle prossequi for the plaintiffs);

Frame v. City of Arlington, 657 F.3d 215, 235–36 (5th Cir. 2011) (finding imminent harm

sufficient for standing of motorized wheelchair users seek declaratory judgment that yet-to-be-

constructed sidewalks violated the ADA); Bailey v. Ryan Stevedoring Co., Inc., 613 F.2d 588

(5th Cir. 1980) (holding that plaintiff had standing to enjoin two racially segregated unions to

merge despite his having suffered no past harm from the segregated unions’ practices).

        As with the Moran Plaintiffs, subsequent developments in Mr. Matthews’s and Mr.

Cloud’s criminal prosecutions do not deprive them of standing to challenge Defendants’ pretrial

detention practices. The key question is whether, at the time of filing, they faced an imminent

threat of constitutional violation. And this question cannot seriously be disputed: at the moment

they filed suit, they were about to be assigned at random to one of Defendants’ courts and



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presented to that court for a hearing that violated their rights, given Defendants’ uniformly

unconstitutional policies. That imminent future injury is sufficient, and Plaintiffs are not required

to wait until they endure that harm in order to seek prospective relief to prevent it.

       Defendants nonetheless argue that “bail modification was neither requested nor

considered at Plaintiffs’ arraignment hearings.” (ECF No. 53-1 at 6.) This appears to be a

mootness argument rather than a standing argument. But Plaintiffs’ claims are not moot. The

transient nature of the harm alleged here makes these injuries capable of repetition yet evading

review. In such instances, people have standing as class representatives even if their individual

claims would soon be moot. (ECF No. 34 at 17–19 (citing Cty. of Riverside v. McLaughlin, 500

U.S. 44, 52 (1991) (holding that a representative plaintiff’s challenge to the county’s failure to

make prompt probable cause determinations was not moot even though the plaintiffs received

probable cause determinations or release from custody prior to class certification); Sosna v.

Iowa, 419 U.S. 393, 402 (1975); Gerstein v. Pugh, 420 U.S. 103, 111 n.11 (1975); Sandoz v.

Cingular Wireless LLC, 553 F.3d 913, 919 (5th Cir. 2008)); see also Caliste v. Cantrell, 17-cv-

06197-EEF-MBN, 2017 WL 3686579 (E.D. La. Aug. 25, 2017) (denying motion to dismiss

asserting that plaintiffs whose criminal cases had concluded lacked standing to challenge pretrial

detention practices).

       The subsequent history of these two criminal prosecutions does not negate the immediacy

of the harm to Mr. Matthews and Mr. Cloud at the time they filed their complaint, or the class of

people they seek to represent. If the imminence of threatened harm at the time of filing were

measured by the future outcome of an individual prosecution, then decisions like Riverside,

Gerstein, Steffel, Sosna, Seals and Caliste would be rendered meaningless. Defendants would be




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able to quash lawsuits simply by refraining from perpetrating the alleged constitutional violation

against the proposed class representative.

       For these reasons, as supported by the arguments previously made in opposition to

Defendants’ motion to dismiss in Moran (ECF No. 34), the Court should deny Defendants

Motion to Dismiss (ECF No. 53).



                                      Respectfully submitted,

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